Case 2:25-cv-02798-JMA-ST Document4 _ Filed 05/20/25 Page 1 of 2 PagelD #: 19

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

CARROL LONGSHORE,

Plaintiff(s)

V.

Civil Action No. 25-cy-02798-IMA-ST

GS INSTITUTE, INC. and GODDESS STALLINGS,

Nee eee eee eae ee

Defendant(s)

SUMMONS IN A CIVIL ACTION

GS Institute, Inc.
190 Mirin Avenue
Roosevelt, NY 11575

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: . ‘
Alex Rissmiller

Rissmiller PLLC
5 Pennsylvania Plaza, 19th Floor
New York, NY 10001

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

Sanha Felpuecras

Signature of Clerk or Deputy Clerk

5/20/2025
Date:

Case 2:25-cv-02798-JMA-ST Document4 Filed 05/20/25 Page 2 of 2 PagelD #: 20

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

CARROL LONGSHORE,

Plaintiff(s)

V.

Civil Action No. 25-cv-02798-JMA-ST

GS INSTITUTE, INC. and GODDESS STALLINGS,

Nee eee eee eae ee

Defendant(s)

SUMMONS IN A CIVIL ACTION

Goddess Stallinas
20 Stone Blvd
Massapequa, NY 11758

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: . ‘
Alex Rissmiller

Rissmiller PLLC
5 Pennsylvania Plaza, 19th Floor
New York, NY 10001

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

pate: 9/20/2025 LUT Sandra Febpuacrae
ate: S PS

Signature of Clerk or Deputy Clerk

